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                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

  ARMANDO GUARDADO,

                                   Plaintiff,

         v.                                                  Civil Action No. 23-cv-61102

  PINES CARE RESEACH CENTER, LLC, AND
  JAYNIER MOYA, M.D.

                                   Defendants.


                               DEFENDANTS’ STATEMENT OF CLAIM

         The Defendants, PINES CARE RESEARCH CENTER, LLC, and JAYNIER MOYA,

  M.D. (collectively, the “Defendants”) pursuant to the Court’s Order entered on June 9th 2023 [ECF

  No. 10], files the Defendants’ Statement of Claim based on the information known to the

  Defendants at the time of filing. In support thereof, the Defendants states as follows:

                                        I.       Preliminary Statement

         This Statement of Claim is not to be construed as a demand, nor as an exact quantification

  of the Defendants’ defenses which are still being actively investigated, but merely as a case

  management tool required by the Court. See Calderon v. Baker Concrete Const., Inc., 771 F.3d

  807, 811 (11th Cir. 2014) (“That document is an extra-Rules practice used by the district court for

  its convenience and to aid in case management. It does not have the status of a pleading and it is

  not an amendment under Rule 15 of the Federal Rules of Civil Procedure.”).

                             II.        Information Requested by the Court.

  1. Plaintiff has been provided all of the time and pay records from his engagement as an

  independent contractor, as of June 30th 2023 by undersigned defense counsel. The Plaintiff was a

  1099 Independent Contractor that is not entitled to protections under the Fair Labor Standards Act.
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  Specifically, the Plaintiff was employed for short-term clinical research trials that are temporarily

  sponsored by pharmaceutical companies. All individuals engaged in these clinical trials are

  engaged in temporary short-term engagements. Therefore, this case has been improperly brought

  under the FLSA.

  2. The Defendants prepared this Statement of Claim with the assistance of undersigned defense

  counsel.

  3. The Plaintiff is owed $0 dollars as he was a 1099 independent contractor that is not subject to

  FLSA protections.

  4. The Plaintiff is owed $0 dollars as he was a 1099 independent contractor that is not subject to

  FLSA protections.

  5. The Plaintiff is owed $0 dollars in unpaid/underpaid overtime wages as he was a 1099

  independent contractor that is not subject to FLSA protections.

  6. The Plaintiff is owed $0 dollars in liquidated damages as he was a 1099 independent contractor

  that is not subject to FLSA protections. The Plaintiff is also not entitled to attorneys’ fees under

  the FLSA statute.

  7. The Defendants’ Statement of Claim is based upon the information currently known and/or

  available.

  8. The Defendants reserve the right to amend this Statement of Claim based upon additional

  information learned through discovery, and/or as additional information becomes known through

  the litigation process.

  9. This Statement of Claim is subject to revision through the course of discovery and/or the

  amendment of any Complaint and/or nay responsive pleadings.




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         WHEREFORE, the Defendants, PINES CARE RESEARCH CENTER, LLC, and

  JAYNIER MOYA, M.D., respectfully file this Statement of Claim in compliance with the Court’s

  June 9th 2023 Order.

                                     Respectfully submitted,

                                     /s/ Robyn Lynn Sztyndor
                                     Robyn Lynn Sztyndor
                                     Florida Bar No.: 89253
                                     Counsel For Defendants
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                                     Fort Lauderdale, FL 33301
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                                     Email: rls409@nyu.edu




                                 CERTIFICATE OF SERVICE


         I HEREBY CERTIFY that on July 12th 2023, I filed the foregoing document with the

  Clerk of Court using CM/ECF.


                                     /s/ Robyn Lynn Sztyndor
                                     Robyn Lynn Sztyndor




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